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                   IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF KANSAS

CHASE COOK                  )
on behalf of himself and others
                            )
similarly situated,         )
                            )
     Plaintiff,             )
                            )
vs.                         )                    Case No.: 2:20-cv-2250
                            )
UNITEDLEX PROFESSIONAL      )
SERVICES, LLC               )
                            )
     Defendant.             )
____________________________

                                  COMPLAINT
             (Collective Action under the Fair Labor Standards Act)

       COMES NOW the Plaintiff Chase Cook, on behalf of himself and all others

similarly situated, and brings this action against Defendant UnitedLex Professional

Services, LLC for damages and other relief as follows:

                                  NATURE OF ACTION

       1.     Plaintiff Chase Cook, on behalf of himself and all others similarly situated,

brings this action against Defendant UnitedLex Professional Services, LLC for damages

and other relief relating to violations of the Fair Labor Standards Act, 29 U.S.C. § 201, et

seq. (“FLSA”) for failing to pay overtime at one and one-half times the regular rate of

pay. Plaintiff’s FLSA claims are asserted as a collective action pursuant to 29 U.S.C. §

216(b) on behalf of all similarly situated persons who have worked as a “Project

Attorney” for Defendant within the past three years. The following allegations are based

upon personal knowledge as to Plaintiff’s own conduct and are made on information

and belief as to the acts and experiences of others similarly situated.
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                            JURISDICTION AND VENUE

       2.     This Court has original federal question jurisdiction under 28 U.S.C. §

1331 because this case is brought under the Fair Labor Standards Act, 29 U.S.C. § 201 et

seq.

       3.     Venue is proper in the United States District Court for the District of

Kansas because Defendant is a limited liability company registered in the state of

Kansas and operates its principal business location in Overland Park, Johnson County,

Kansas where Plaintiff was employed as a Project Attorney for Defendant.

                                        PARTIES

       4.     Defendant UnitedLex Professional Services, LLC (“UnitedLex” or

“Defendant”) is a Kansas limited liability company (KS Business Entity No. 6538508)

active and in good standing in the state of Kansas. It’s principal place of business is

located at 6130 Sprint Parkway, Suite 300, Overland Park, Kansas 66211.

       5.     Defendant is engaged in interstate commerce by, among other things,

providing nationwide consulting and litigation support services to law firms and

corporate legal departments, including – as relevant here- document review services.

Defendant provides these document review services out of offices located in several

states, including Kansas.

       6.     At all times relevant to this lawsuit, Defendant has had an annual gross

volume of business done in excess of $500,000.

       7.     At all times relevant to this lawsuit, Defendant is, and has been, an

“employer” engaged in interstate commerce and/or the production of goods for

commerce within the meaning of the FLSA, 29 U.S.C. § 203(d).



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       8.       Plaintiff Chase Cook (hereafter “Plaintiff”) is a Kansas resident. Plaintiff

was employed by Defendant as a Project Attorney from on or about October 2018

through on or about February 2020. Plaintiff worked at Defendant’s office located in

Overland Park, Kansas. Numerous other similarly situated Project Attorneys employed

by Defendant worked at this location and worked at other companywide locations in

other states.

       9.       Plaintiff and the other similarly situated Project Attorneys are current or

former employees of Defendant within the meaning of the FLSA, 29 U.S.C. § 203(e)(1).

       10.      Plaintiff and the other similarly situated Project Attorneys have been

employed by Defendant within two to three years prior to the filing of this lawsuit. See

29 U.S.C. § 255(a).

                FLSA COLLECTIVE ACTION FACTUAL ALLEGATIONS

       11.      Defendant UnitedLex is not a law firm and does not provide legal advice.

       12.      Instead, Defendant provides consulting and litigation support services to

law firms and corporate legal departments, including – as relevant here- document

review services.

       13.      Defendant’s document review projects are staffed by temporary, project-

based employees known as “Project Attorneys” who are managed and supervised by full-

time UnitedLex employees.

       14.      Plaintiff and the other similarly situated Project Attorneys who work for

Defendant perform the same primary job duties.




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       15.     In performing their document review job duties, Project Attorneys work

under the supervision and direction of Defendant’s clients, who are properly licensed

attorneys, whether in-house or outside counsel.

       16.     Defendant’s attorney clients ultimately supervise the document review

project and provide the necessary guidance to Defendant and the Project Attorneys.

       17.     Plaintiff and the other similarly situated Project Attorneys are part of

Defendant’s document review teams that work under Defendant’s attorney clients’

direction.

       18.     The primary job duties of Plaintiff and the other similarly situated Project

Attorneys are to review the documents provided to them, looking for any issues or terms

as directed by the attorney clients, and to categorize and identify said documents

accordingly.

       19.     At all times however, Defendant’s attorney clients, not Defendant’s Project

Attorneys, oversee and supervise the document review process, and remain solely

responsible for any production of documents in the litigation and for rendering any legal

advice related to the production of documents.

       20.     Plaintiff and the other similarly situated Project Attorneys are required to

perform their primary document review job duties under very specific guidelines as set

forth by Defendant’s clients. They are required to use criteria developed by others to

simply identify and sort documents into different categories as directed by Defendant’s

clients.

       21.     At no time has Defendant, Plaintiff, or those similarly situated represented

that Project Attorneys are licensed to practice law on behalf of Defendant’s clients in any

of the states where they work.


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       22.    Defendant does not require individuals to be duly licensed to practice law

in any state in order to be employed as a Project Attorney.

       23.    Plaintiff and the other similarly situated Project Attorneys do not practice

law on behalf of clients as part of their employment with Defendant. Their primary duty

of reviewing documents does not include the performance of work requiring advanced

knowledge or include the consistent exercise of discretion and judgment.

       24.    Given the routine and manual nature of their primary document review

job duties, Plaintiff and the other similarly situated Project Attorneys are entitled to

overtime pay under the FLSA (i.e., they are nonexempt employees under the FLSA).

       25.    On a weekly basis throughout their employment, Plaintiff and the other

similarly situated Project Attorneys routinely worked in excess of forty (40) hours per

workweek. These work hours should be accurately recorded in Defendant’s timekeeping

and payroll records, and therefore can be determined with certainty.

       26.    Defendant paid Plaintiff $23 per hour for all hours worked – Plaintiff’s

regular rate of pay. Defendant paid the other similarly situated Project Attorneys at the

same or similar regular rate of pay.

       27.    Defendant paid Plaintiff and the other similarly situated Project Attorneys

for the hours they worked in excess of forty (40) per week at their regular rate of pay

only, rather than at one and one-half times their regular rate of pay.

       28.    In failing to pay Plaintiff and the other similarly situated Project Attorneys

at the appropriate overtime rate of pay for hours worked in excess of forty (40) per

workweek as required by the FLSA, Defendant erroneously relied on the FLSA’s bona

fide professional exemption to overtime pay, 29 U.S.C. § 213(a)(1).




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                                     COUNT I
                            (FLSA COLLECTIVE ACTION)

       29.    Plaintiff, on behalf of himself and the other similarly situated FLSA

Collective Plaintiffs, realleges and incorporates by reference all previous paragraphs.

       30.    The FLSA requires each covered employer, such as Defendant, to

compensate all nonexempt employees at a rate of not less than one and one-half times

the regular rate of pay for work performed in excess of forty (40) hours in a workweek.

       31.    Throughout the statute of limitations period covered by this claim,

Plaintiff and the FLSA Collective routinely worked in excess of forty (40) hours per

workweek without receiving overtime compensation at the proper overtime rate of pay

in violation of the FLSA.

       32.    Plaintiff and the FLSA Collective are similarly situated in that they all have

the same primary job duties, are all subject to Defendant’s same corporate policies and

procedures governing every aspect of their job duties, all routinely work(ed) in excess of

forty hours per workweek, and are all subject to the same pay policy of not paying all

overtime compensation at the proper overtime rate of pay for hours worked in excess of

forty (40) per workweek.

       33.    Defendant is liable under the FLSA, 29 U.S.C. § 201, et seq., for failing to

properly compensate Plaintiff and the FLSA Collective for the overtime pay owed.

       34.    Plaintiff files this action on behalf of himself and all other similarly

situated Project Attorneys pursuant to the FLSA, 29 U.S.C. §216(b). The proposed

collective class for the FLSA claim is defined as follows:

       All persons who worked as a Project Attorney for Defendant at any of its
       companywide locations within three years prior to the filing of this
       Complaint and who was not paid one and one-half times the regular rate of



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       pay for work performed in excess of forty (40) hours in a workweek. (the
       “FLSA Collective”).

       35.    This Complaint may be brought and maintained as an “opt-in” collective

action pursuant to the FLSA, 29 U.S.C. §216(b), for all claims asserted by the Plaintiff

because the claims of Plaintiff are similar to the FLSA Collective.

       36.    Plaintiff and the FLSA Collective are victims of Defendant’s widespread,

repeated, systematic and consistent illegal policies that have resulted in violations of

their rights under the FLSA, and that have caused significant damage to Plaintiff and the

FLSA Collective.

       37.    The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. § 255(a), as Defendant knew or showed reckless

disregard for the fact that its compensation practices were in violation of the law.

       38.    As the direct and proximate result of Defendant’s unlawful conduct,

Plaintiff and the FLSA Collective have suffered, and will continue to suffer, a loss of

income and other damages. Plaintiff and the FLSA Collective under § 216(b) of the

FLSA are entitled to liquidated damages, attorney’s fees and costs incurred in

connection with enforcing this claim.

       39.    The Plaintiff and the FLSA Collective have suffered from Defendant’s

common policies and would benefit from the issuance of a Court-supervised notice of

this lawsuit and the opportunity to join. Those similarly situated employees are known

to Defendant and are readily identifiable through Defendant’s records.

                                PRAYER FOR RELIEF

       Plaintiff, on behalf of himself and others similarly situated, pray for relief as

follows:


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      a)     Designation of this action as a collective action on behalf of the FLSA
             Collective and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to
             all similarly situated members of the FLSA Collective apprising them of the
             pendency of this action, and permitting them to assert timely FLSA claims
             in this action by filing individual consent forms pursuant to 29 U.S.C. §
             216(b);

      b)     Judgment against Defendant finding it failed to properly pay Plaintiff and
             the FLSA Collective overtime at the correct overtime rate of pay and for all
             overtime hours worked as required under the FLSA;

      c)     Judgment against Defendant for Plaintiff and the FLSA Collective for
             damages for unpaid overtime pay;

      d)     An amount equal to their damages as liquidated damages;

      e)     A finding that Defendant’s violations of the FLSA are willful;

      f)     All costs and attorneys’ fees incurred prosecuting this claim;

      g)     An award of prejudgment interest (to the extent liquidated damages are not
             awarded);

      h)     Leave to add additional plaintiffs by motion, the filing of consent forms, or
             any other method approved by the Court;

      i)     Leave to amend to add additional state law claims; and,

      j)     All further relief as the Court deems just and equitable.

                            DEMAND FOR JURY TRIAL

       The Plaintiff in the above-captioned matter hereby demands a jury trial for all
claims set forth herein.

                                LOCATION OF TRIAL

      The location of this trial should be Kansas City, Kansas.




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Respectfully Submitted,




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